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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
RICHMOND DIVISION

 

JOE ALEXANDER,
Plaintiff,
v. Case No. 3:19-ev-00688-JAG

DIET MADISON AVENUE, JEAN
BATTHANY, DANI HURT, MARA BUTA,
ADWEEK, LLC, AND PATRICK COFFEE,

 

Defendants.
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DECLARATION OF PATRICK COFFEE

PATRICK COFFEE, pursuant to 28 U.S.C. § 1746, states as follows:

1. I am a defendant in the above-captioned action. I make this Declaration in
support of the motion to dismiss the Amended Complaint against me. Except as expressly
indicated to the contrary, I have personal knowledge of the facts set forth herein, and I would be
competent to testify to these facts at a hearing or trial in this action.

2, I have resided in New York City continuously for more than 20 years, except for a
brief period following college when I lived in South Carolina for approximately six months.

3. I lived in the Commonwealth of Virginia between 1994 and 1996 while I attended
a boarding school there for the first two years of high school. I have otherwise never lived in
Virginia. I have never worked in Virginia, and, to the best of my knowledge, since 1996, I have

not visited Virginia.
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4. I am not registered to vote in Virginia. I do not own or rent real estate in Virginia.
I do not hold bank accounts in Virginia, and I do not own or rent personal property in Virginia. I
do not conduct business in Virginia or derive any income from Virginia.

5. I am currently a reporter for Business Insider, which is based in New York City.
All of my prior full-time employers have been based in New York.

6. I began working for Adweek, LLC when it purchased Adweek in 2016. I
continued to work for Adweek through August 2019. Throughout that time, I worked at
Adweek’s offices in New York City.

7. While I was a reporter at Adweek, I wrote several articles about or mentioning the
termination of Joe Alexander, which are referenced in Mr. Alexander’s Amended Complaint in
this case. I also tweeted the link to a Refinery 29 article regarding The Martin Agency after
Alexander’s departure that is referenced in Mr. Alexander’s Amended Complaint.

8. My reporting for the articles regarding Alexander and the editing of them
occurred entirely from New York. The tweet was written in New York.

9. In connection with my reporting for the articles about Mr. Alexander’s
termination and the allegations of sexual harassment against him, | communicated with a few
sources who were in Virginia, including Alexander, when ] communicated with them. I was not
physically located in Virginia at the time any of these communications occurred, and I did not
travel to Virginia to interview any person in connection with these articles. In connection with

the reporting for those articles, most of my sources were not in Virginia.
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I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 18. , 2019 Lire

New York, New York Patrick Coffee “%
